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CARLOS B. HOBSON,

Plaintiff, Case No. 04-2691 D
vs.

CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER TO SHOW CAUSE

 

On Apri] 28, 2005, Defendants Officer Andre Nelson and Officer Tina Leborgen filed a
Motion to Dismiss. Pursuant to Fed.R.Civ. P. lZ(b)(l), Plaintit`f is required to respond to the motion
within thirty (30) days. To date, Plaintiff has not responded to Defendants’ motion, nor sought
additional time to respond.

Accordingly, the_court hereby orders Plaintiff to show cause why Defendants’ Motion to
Dismiss should not be granted Plaintiff has fifteen (l 5) days from the date of the entry of this order
to file a response It` Plaintiff fails to response, the motion will be decided on the existing record

without further notiee.

IT rs So oRDERED this 49 ‘“*day of 525 g 2005.

B ICE B. ONALD
UNITED STATES DISTRICT JUDGE

Thts document entered on the docket sheet ln compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02691 was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

